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14                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
15                                  OAKLAND DIVISION
16    GENTEX CORPORATION and INDIGO
      TECHNOLOGIES, LLC,
17
                           Plaintiffs,                 Case No. 4:22-cv-03892-YGR
18
      THALES VISIONIX, INC.,                           PLAINTIFFS’ ADMINISTRATIVE
19                                                     MOTION TO SEAL PORTIONS OF AND
                           Involuntary Plaintiff,      EXHIBITS TO JOINT MOTION TO
20                                                     DISMISS
             v.
21
      META PLATFORMS, INC. and META                   Judge:         Hon. Yvonne Gonzalez Rogers
22    PLATFORMS TECHNOLOGIES, LLC,
23                         Defendants.
24

25          Pursuant to Civil Local Rules 7-11 and 79-5(d) and (e), plaintiffs Gentex Corporation
26   (“Gentex”) and Indigo Technologies, LLC (“Indigo”) (collectively, “Plaintiffs”) hereby move for an
27

28
      PLAINTIFFS’ MOTION TO SEAL RE:                                   CASE NO. 4:22-CV-03892-YGR
      JOINT MOTION TO DISMISS
            Case 4:22-cv-03892-YGR Document 137 Filed 01/12/24 Page 2 of 3



 1   order sealing certain portions of the Joint Motion to Dismiss (“Motion”) and Exhibits A and B attached
 2   to the Motion.
 3            Exhibit A to the Motion is a copy of the settlement agreement (the “Agreement”) signed
 4   between Plaintiffs and defendants Meta Platforms, Inc. and Meta Platforms Technologies, LLC
 5   (collectively, “Defendants” or “Meta”) on January 9, 2024. Exhibit B to the Motion is a copy of the
 6   term sheet (the “Term Sheet”) signed between Plaintiffs, Defendants, and Involuntary Plaintiff Thales
 7   Visionix, Inc. (“Thales”) on December 21, 2023.
 8            When considering a motion to seal, the Court must “conscientiously balance the competing
 9   interests of the public and the party who seeks to keep certain judicial records secret.” Ctr. For Auto
10   Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097 (9th Cir. 2016) (cleaned up). Where, as here, the
11   motion is only tangentially related to the merits of the case, a “particularized showing” under the good
12   cause standard of Rule 26(c) suffices to grant a motion to seal. See id. at 1099; Kamakana v. City &
13   Cnty. of Honolulu, 447 F.3d 1172, 1179-80 (9th Cir. 2006); Exeltis USA Inc. v. First Databank, Inc.,
14   2020 WL 2838812, at *1 (N.D. Cal. June 1, 2020).1 Courts routinely conclude that “‘confidential
15   business information’ in the form of ‘license agreements, financial terms, details of confidential
16   licensing negotiations, and business strategies’” satisfy the good cause or compelling reasons standard
17   for sealing. Exeltis, 2020 WL 2838812, at *1; In re Qualcomm Litig., 2017 WL 5176922, at *2 (S.D.
18   Cal. Nov. 8, 2017).
19            The Agreement and Term Sheet specifically outline confidential business information of
20   Plaintiffs, including financial terms and details of confidential licensing negotiations. Harber Decl.
21   ¶ 4. Similarly, the portions of the Motion that are highlighted in yellow discuss the terms of the
22   Agreement and the Term Sheet. Id. ¶ 5. Each is a source of information that may harm the parties’
23   “competitive standing” if disclosed publicly. FTC v. Microsoft Corp., 2023 WL 5186252, at *1 (N.D.
24   Cal. Aug. 11, 2023). Further, the Agreement and Term Sheet have no bearing on the “merits” of the
25   case. The parties have provided these exhibits solely to explain that they have resolved all of the
26

27   1
      Even if the court were to apply a “compelling reasons” standard, see Kamakana, 447 F.3d 1172 at
     1180, the parties have shown that there are compelling reasons to seal the Agreement and Term Sheet.
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         PLAINTIFFS’ MOTION TO SEAL RE:                 2                  CASE NO. 4:22-CV-03892-YGR
         JOINT MOTION TO DISMISS
          Case 4:22-cv-03892-YGR Document 137 Filed 01/12/24 Page 3 of 3



 1   claims at issue. Given that the Agreement and Term Sheet contain confidential business information
 2   that does not bear on the merits of any claim in this action, the good cause for sealing outweighs the
 3   public’s interest in access to judicial records. See id. Counsel for Plaintiffs have conferred with
 4   counsel for Thales and Defendants, and Thales and Defendants agree that the material in Exhibits A
 5   and B, and the portions of the Motion that reference that material, should be filed under seal.
 6          Accordingly, Plaintiffs respectfully request that the Court seal Exhibits A and B to the Joint
 7   Motion to Dismiss and the portions of the Motion that reflect the contents of Exhibits A and B.
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     Dated: January 12, 2024                         Respectfully submitted,
 9

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      PLAINTIFFS’ MOTION TO SEAL RE:                    3                  CASE NO. 4:22-CV-03892-YGR
      JOINT MOTION TO DISMISS
